         Case 1:21-cr-00502-CKK Document 47 Filed 01/06/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                    :
                                            :       CASE NO. 21-CR-502 (CKK)
              v.                            :
                                            :
DANIEL CHRISTMANN,                          :
                                            :
                      Defendant.            :


                       NOTICE OF SUBSTITUTION OF COUNSEL

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is now assigned to

Assistant United States Attorney Sonia Mittal. AUSA Sonia Mittal will be substituting for

AUSA Jason Crawford.



                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            DC Bar No. 481052

                                     By:    /s/ Sonia Mittal
                                            SONIA MITTAL
                                            Assistant United States Attorney
                                            United States Attorney’s Office for the
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                                            Illinois Bar No. 6314706
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                                            (202) 821-9470
         Case 1:21-cr-00502-CKK Document 47 Filed 01/06/23 Page 2 of 2




                                CERTIFICATE OF SERVICE

       On this 6th day of January 2023, a copy of the foregoing was served upon all parties listed
on the Electronic Case Filing (ECF) System.

                                                    /s/ Sonia Mittal
                                                    Sonia Mittal
                                                    Assistant United States Attorney
